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                         PALA0069
                     6   Attorneys for Defendant,
                         FESTIVAL FUN PARKS, LLC dba CASTLE PARK
                     7

                     8                                   UNITED STATES DISTRICT COURT
                     9             CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
     LLP




                    10   PIPER JOHNSON, a minor by and                     CASE NO. 5:22-cv-01549
                         through guardian ad litem, Lindsay
                    11   Johnson,                                          NOTICE OF REMOVAL OF ACTION
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                                                                           TO UNITED STATES DISTRICT
                    12                     Plaintiff,                      COURT UNDER 28 U.S. CODE §§ 1441
                                                                           and 1446 (DIVERSITY); DEMAND FOR
                    13   v.                                                JURY TRIAL; DECLARATION OF
                                                                           RUDIE D. BALDWIN
                    14   CASTLE PARK, a business entity, form
                         unknown; PALACE
                    15   ENTERTAINMENT HOLDINGS, LLC; Complaint Filed: February 22, 2022
                         CENTAUR HOLDINGS UNITED              Trial Date: None
                    16   STATES, INC. WHICH WILL DO
                         BUSINESS IN CALIFORNIA AS
                    17   PALACE ENTERTAIMENT;
                         FESTIVAL FUN PARKS, LLC; and
                    18   DOES 1 through 100, inclusive,
                    19                     Defendants.
                    20            TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
                    21   THE CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION:
                    22            PLEASE TAKE NOTICE that Defendant, FESTIVAL FUN PARKS, LLC dba
                    23   CASTLE PARK (erroneously sued herein as "PALACE ENTERTAINMENT
                    24   HOLDINGS, LLC" and "CENTAUR HOLDINGS UNITED STATES, INC. WHICH
                    25   WILL DO BUSINESS IN CALIFORNIA AS PALACE ENTERTAINMENT")
                    26   (“Defendant”) hereby removes the above-entitled action to the United States District
                    27   Court for the Central District of California, Eastern Division, pursuant to 28 U.S.
                    28
                                                                          1
                                              NOTICE OF REMOVAL OF ACTION TO UNITED STATES DISTRICT COURT
                         JOHNSON/NTC REMOVAL FEDERAL- JOHNSON
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                     1   Code §§ 1441 and 1446. As grounds for removal, Defendant respectfully states:
                     2

                     3                                               BACKGROUND
                     4            1.       On or about February 22, 2022, Plaintiff, PIPER JOHNSON, a minor by
                     5   and through guardian ad litem, Lindsay Johnson (“Plaintiff”) commenced a civil
                     6   action in the Superior Court of the State of California for the County of Riverside,
                     7   captioned Piper Johnson, a minor by and through guardian ad litem, Lindsay Johnson
                     8   v. Castle Park, et al. Case No. CVRI2200775 (the “State Court Action”). A true and
                     9   accurate copy of Plaintiff’s Complaint in the State Court Action is attached hereto as
     LLP




                    10   Exhibit “A”.
                    11            2.       The Complaint was served on Defendant’s Agent for Service of Process
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                    12   on June 17, 2022. A copy of the Service of Process Transmittal, from Corporation
                    13   Service Company (agent for service of process), setting forth the service date, is
                    14   attached hereto as Exhibit “B”.
                    15            3.       At the time Defendants were initially served, there was insufficient
                    16   information upon which to assess diversity jurisdiction, in regard to the amount in
                    17   controversy.
                    18            4.       Defendant’s Answer was served on July 14, 2022.
                    19                                                 JURISDICTION
                    20            5.       This matter is removed to the United States District Court for the Central
                    21   District of California, Eastern Division, on the grounds that there is complete diversity
                    22   of citizenship between Plaintiff on the one hand, and Defendant on the other hand, and
                    23   the amount in controversy exceeds $75,000. The facts supporting jurisdiction are as
                    24   follows:
                    25                                          DIVERSITY OF CITIZENSHIP
                    26            6.       Defendant is informed and believes that Plaintiff is an individual,
                    27   residing in the State of California.
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                                              NOTICE OF REMOVAL OF ACTION TO UNITED STATES DISTRICT COURT
                         JOHNSON/NTC REMOVAL FEDERAL- JOHNSON
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                     1            7.       Defendant, FESTIVAL FUN PARKS, LLC dba CASTLE PARK was,
                     2   and currently is, incorporated in the State of Delaware (See Declaration of Rudie D.
                     3   Baldwin, and Exhibit “D”, State of Delaware Entity Details). In addition, Defendant,
                     4   FESTIVAL FUN PARKS, LLC dba CASTLE PARK has its principal place of
                     5   business in West Mifflin, PA (See Declaration of Rudie D. Baldwin, and Exhibit
                     6   “D”, Notice of Change of Address and Screenshot from Website).
                     7            8.       Accordingly, Defendant is not a citizen of the State of California, where
                     8   the action was brought, and the citizenship of all defendants is diverse from that of
                     9   Plaintiff.
     LLP




                    10            9.       The underlying state court action is a civil action which arises from a
                    11   personal injury damage claim, wherein Plaintiff claims that she hit her face on an
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                    12   exposed bolt in a splash playground located at Castle Park, (County of Riverside),
                    13   Riverside, California, on July 21, 2019 (See Exhibit “A”, Complaint, Paragraph 1,
                    14   Page 2).
                    15            10.      Plaintiff, PIPER JOHNSON, claims that she suffered serious economic
                    16   and noneconomic damages. Plaintiff’s counsel has represented that the amount in
                    17   controversy exceeds $75,000 in a Statement of Damages served in the State Court
                    18   action. (See Declaration of Rudie D. Baldwin, and Exhibit “C” Plaintiff’s Statement
                    19   of Damages for over $1,000,000). As such, the amount in controversy exceeds the
                    20   sum of Seventy-Five Thousand Dollars ($75,000).
                    21            11.      No proceedings have taken place in the State Court to which Defendant
                    22   had notice.
                    23            12.      Defendant’s Answer was served on July 14, 2022.
                    24            13.      The underlying State Court action is one in which this Court has original
                    25   jurisdiction under the provisions of 28 U.S. Code § 1332, and is one which may be
                    26   removed to this Court by Defendant, pursuant to the provisions of 28 U.S. Code §§
                    27   1441 and 1446, in that it is a civil action wherein the amount in controversy exceeds
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                                              NOTICE OF REMOVAL OF ACTION TO UNITED STATES DISTRICT COURT
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                     1   the sum of Seventy Five Thousand Dollars ($75,000), exclusive of interest and costs,
                     2   and is between entities of different states.
                     3                                          AMOUNT IN CONTROVERSY
                     4            14.      Over $1,000,000 per a Statement of Damages served in the State Court
                     5   action. (See Declaration of Rudie D. Baldwin, and Exhibit “C”).
                     6                                                NOTICE
                     7            15.      Pursuant to 28 U.S. Code § 1446 (d), proper notice will be given to
                     8   Plaintiff herein, by and through counsel of record, and to the Clerk of the Superior
                     9   Court of Riverside, which will be filed in that Court. (See Declaration of Rudie D.
     LLP




                    10   Baldwin, and Exhibit “E”.
                    11                                          DEMAND FOR JURY TRIAL
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                    12            16.      Pursuant to the Seventh Amendment to the United States Constitution
                    13   and Rule 38(b) of the Federal Rules of Civil Procedure, Defendant, FESTIVAL FUN
                    14   PARKS, LLC dba CASTLE PARK hereby respectfully demands a trial by jury.
                    15

                    16
                         DATED: September 1, 2022                      AMARO | BALDWIN LLP
                    17

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                                                                       By:______________________________
                    19                                                     RUDIE D. BALDWIN
                    20                                                     Attorneys for Defendant,
                                                                           FESTIVAL FUN PARKS, LLC
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                                              NOTICE OF REMOVAL OF ACTION TO UNITED STATES DISTRICT COURT
                         JOHNSON/NTC REMOVAL FEDERAL- JOHNSON
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                     1                               DECLARATION OF RUDIE D. BALDWIN
                     2            I, RUDIE D. BALDWIN, declare:
                     3            I am an attorney, duly licensed to practice law in all the courts of the State of
                     4   California and am a partner in the law firm of Amaro | Baldwin LLP, attorneys of
                     5   record for Defendant, FESTIVAL FUN PARKS, LLC dba CASTLE PARK
                     6   (erroneously sued as Centaur Holdings United States, Inc. dba Palace Entertainment)
                     7   (“Defendant”). As such, I have personal knowledge of the files and pleadings in this
                     8   matter, as well as the facts stated below. If called upon as a witness, I could and
                     9   would competently testify as follows:
     LLP




                    10                                            BACKGROUND
                    11            1.       On or about February 22, 2022, Plaintiff, PIPER JOHNSON, a minor by
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                    12   and through guardian ad litem, Lindsay Johnson (“Plaintiff”) commenced a civil
                    13   action in the Superior Court of the State of California for the County of Riverside,
                    14   captioned Piper Johnson, a minor by and through guardian ad litem, Lindsay Johnson
                    15   v. Castle Park, et al. Case No. CVRI2200775 (the “State Court Action”). A true and
                    16   accurate copy of Plaintiff’s Complaint in the State Court Action is attached hereto as
                    17   Exhibit “A”.
                    18            2.       The Complaint was served on Defendant’s Agent for Service of Process
                    19   on June 17, 2022. A copy of the Service of Process Transmittal, from Corporation
                    20   Service Company (agent for service of process), setting forth the service date, is
                    21   attached hereto as Exhibit “B”.
                    22            3.       At the time Defendants were initially served, there was insufficient
                    23   information upon which to assess diversity jurisdiction, in regard to the amount in
                    24   controversy.
                    25            4.       Defendant’s Answer was served on July 14, 2022.
                    26                                               JURISDICTION
                    27            5.       This matter is removed to the United States District Court for the Central
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                                              NOTICE OF REMOVAL OF ACTION TO UNITED STATES DISTRICT COURT
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                     1   District of California, Eastern Division, on the grounds that there is complete diversity
                     2   of citizenship between Plaintiff on the one hand, and Defendant on the other hand, and
                     3   the amount in controversy exceeds $75,000. The facts supporting jurisdiction are as
                     4   follows:
                     5                                          DIVERSITY OF CITIZENSHIP
                     6            6.       Defendant is informed and believes that Plaintiff is an individual,
                     7   residing in the State of California.
                     8            7.       Defendant, FESTIVAL FUN PARKS, LLC dba CASTLE PARK was,
                     9   and currently is, incorporated in the State of Delaware (See Declaration of Rudie D.
     LLP




                    10   Baldwin, and Exhibit “D”, State of Delaware Entity Details). In addition, Defendant,
                    11   FESTIVAL FUN PARKS, LLC dba CASTLE PARK has its principal place of
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                    12   business in West Mifflin, PA (See Declaration of Rudie D. Baldwin, and Exhibit
                    13   “D”, Notice of Change of Address and Screenshot from Website).
                    14            8.       Accordingly, Defendant is not a citizen of the State of California, where
                    15   the action was brought, and the citizenship of all defendants is diverse from that of
                    16   Plaintiff.
                    17            9.       The underlying state court action is a civil action which arises from a
                    18   personal injury damage claim, wherein Plaintiff claims that she hit her face on an
                    19   exposed bolt in a splash playground located at Castle Park, (County of Riverside),
                    20   Riverside, California, on July 21, 2019 (See Exhibit “A”, Complaint, Paragraph 1,
                    21   Page 2).
                    22            10.      Plaintiff, PIPER JOHNSON, claims that she suffered serious economic
                    23   and noneconomic damages. Plaintiff’s counsel has represented that the amount in
                    24   controversy exceeds $75,000 in a Statement of Damages served in the State Court
                    25   action. (See Declaration of Rudie D. Baldwin, and Exhibit “C” Plaintiff’s Statement
                    26   of Damages for over $1,000,000). As such, the amount in controversy exceeds the
                    27   sum of Seventy-Five Thousand Dollars ($75,000).
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                                              NOTICE OF REMOVAL OF ACTION TO UNITED STATES DISTRICT COURT
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                     1            11.      No proceedings have taken place in the State Court to which Defendant
                     2   had notice.
                     3            12.      Defendant’s Answer was served on July 14, 2022.
                     4            13.      The underlying State Court action is one in which this Court has original
                     5   jurisdiction under the provisions of 28 U.S. Code § 1332, and is one which may be
                     6   removed to this Court by Defendant, pursuant to the provisions of 28 U.S. Code §§
                     7   1441 and 1446, in that it is a civil action wherein the amount in controversy exceeds
                     8   the sum of Seventy Five Thousand Dollars ($75,000), exclusive of interest and costs,
                     9   and is between entities of different states.
     LLP




                    10                                          AMOUNT IN CONTROVERSY
                    11            14.      Over $1,000,000 per a Statement of Damages served in the State Court
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                    12   action. (See Declaration of Rudie D. Baldwin, and Exhibit “C”).
                    13                                                NOTICE
                    14            15.      Pursuant to 28 U.S. Code § 1446 (d), proper notice will be given to
                    15   Plaintiff herein, by and through counsel of record, and to the Clerk of the Superior
                    16   Court of Riverside, which will be filed in that Court. (See Declaration of Rudie D.
                    17   Baldwin, and Exhibit “E”.
                    18                                          DEMAND FOR JURY TRIAL
                    19            16.      Pursuant to the Seventh Amendment to the United States Constitution
                    20   and Rule 38(b) of the Federal Rules of Civil Procedure, Defendant, FESTIVAL FUN
                    21   PARKS, LLC dba CASTLE PARK hereby respectfully demands a trial by jury.
                    22            I declare under penalty of perjury under the laws of the State of California that
                    23   the foregoing is true and correct, and that this declaration is executed on September 1,
                    24   2022, at Long Beach, California.
                    25                                                        _______________________________
                    26                                                        RUDIE D. BALDWIN, Declarant

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                                              NOTICE OF REMOVAL OF ACTION TO UNITED STATES DISTRICT COURT
                         JOHNSON/NTC REMOVAL FEDERAL- JOHNSON
